            Case 2:03-cr-00071-FCD Document 66 Filed 07/26/06 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    KYMBERLY A. SMITH
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2771
5
6
7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,         )       CR. S-03-0071 FCD
11                                     )
                      Plaintiff,       )       STIPULATION AND ORDER
12                                     )
                v.                     )
13                                     )       Date:     July 31, 2006
     TISH MARIE BILLINGS,              )       Time:     9:30 a.m.
14                                     )       Judge:   Hon. Frank C. Damrell Jr.
                      Defendant.       )
15                                     )       “AS MODIFIED”
16         IT IS HEREBY STIPULATED and agreed to between the United
17   States of America through Kymberly A. Smith, Assistant U.S.
18   Attorney, and defendant Tish Marie Billings, by and through her
19   counsel, Fred Dawson, Esquire, that the parties request that the
20   Admit or Deny Hearing regarding a pending Probation Violation be
21   continued.   This matter is presently scheduled for July 31, 2006
22   at 9:30 a.m.    The parties request that this matter be rescheduled
23   to August 14, 2006 at 9:30 a.m.
24         The basis for this request is that the parties are working
25   towards disposition of this matter and need more time to research
26   and discuss possible resolution to present to this Court.
27   ///
28   ///

                                           1
              Case 2:03-cr-00071-FCD Document 66 Filed 07/26/06 Page 2 of 2


1    Additionally, counsel for the United States is out of the office
2    the week of July 31, 2006.
3
4
5
6    Dated:    July 26, 2006
7                                               Respectfully submitted,
8                                               McGREGOR W. SCOTT
                                                United States Attorney
9
10                                       By:    /s/ Kymberly A. Smith
                                                KYMBERLY A. SMITH
11                                              Assistant U.S. Attorney
12
13   Dated: July 26, 2006
14                                              /s/ Fred Dawson
                                                FRED DAWSON, ESQ.
15                                              Attorney for Defendant
                                                TISH MARIE BILLINGS
16
17
18                                    O R D E R
19        IT IS SO ORDERED.
20   Dated: July 26, 2006
21                                              /s/ Frank C. Damrell Jr.
                                                FRANK C. DAMRELL JR.
22                                              United States District Judge
23
24
25
26
27
28

                                            2
